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 5   Fax: (559) 487-5950

 6   Attorneys for Defendant
     ROBERT EDWARD BROWN
 7
 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                  )   1:15-cr-00004 AWI
                                                )
12                     Plaintiff,               )   STIPULATION TO RESET STATUS
                                                )   CONFERENCE TO A CHANGE-OF-PLEA
13   vs.                                        )   AND SENTENCING HEARING; ORDER
                                                )
14   ROBERT EDWARD BROWN,                       )   Date: January 20, 2015
                                                )   Time: 10:00 a.m.
15                    Defendant.                )   Judge: Hon. Anthony W. Ishii
                                                )
16                                              )

17          IT IS HEREBY STIPULATED by and between the parties through their respective
18   counsel, Special Assistant United States Attorney, Bayleigh J. Pettigrew, counsel for the
19   plaintiff, and Assistant Federal Defender, Erin Snider, counsel for defendant, Robert Edward
20   Brown, that the status conference currently set for January 15, 2015, at 10:00 a.m., before U.S.

21   Magistrate Judge Stanley A. Boone, may be vacated and reset for a change-of-plea and
22   sentencing hearing on January 20, 2015, at 10:00 a.m. before Senior U.S. District Judge
23   Anthony W. Ishii. The government is in agreement with this request.
24   ///
25   ///
26   ///
27   ///
28   ///
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 1
 2                                                Respectfully submitted,

 3                                                BENJAMIN B. WAGNER
                                                  United States Attorney
 4
 5   Date: January 8, 2015                        /s/ Bayleigh J. Pettigrew
                                                  BAYLEIGH J. PETTIGREW
 6                                                Special Assistant United States Attorney
                                                  Attorneys for Plaintiff
 7
 8                                                HEATHER E. WILLIAMS
                                                  Federal Defender
 9
10   Date: January 8, 2015                        /s/ Erin Snider
                                                  ERIN SNIDER
11                                                Assistant Federal Defender
                                                  Attorneys for Defendant
12                                                ROBERT EDWARD BROWN

13
14                                              ORDER

15             IT IS SO ORDERED. For the reasons set forth above, the status conference set for

16   January 15, 2015, will be vacated and the matter will be set for a change-of-plea and sentencing

17   hearing on January 20, 2015, at 10:00 a.m., before Senior U.S. District Judge Anthony W. Ishii.

18
19
     IT IS SO ORDERED.
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21
     Dated:      January 8, 2015
                                                      UNITED STATES MAGISTRATE JUDGE
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